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                Exhibit A
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             INTERNATIONAL CENTRE FOR DISPUTE RESOLUTION
                         International Arbitral Tribunal

–––––––––––––––––––––––––––––––––– X

ICDR Case No. 01-22-0004-1325                                       :
                                                                    :
In the Matter of the Arbitration between                            :
                                                                    :
Mercantile Global Holdings Inc.,                                    :
                                                Claimant,           :
                                                                    :
                               And                                  :
                                                                    :
Hamilton M&A Fund SP,                                               :
                                                Respondent.         :
– – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X




                                          FINAL AWARD




                                          Steven Skulnik
                                          Sole Arbitrator
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       I, THE UNDERSIGNED ARBITRATOR, having been appointed in
accordance with the dispute resolution provisions of two Investment Agreements,
signed on September 16, 2022, between Claimant Mercantile Global Holdings Inc.
and Respondent Hamilton M&A Fund SP (the Investment Agreements), and
having duly heard the submissions and evidence of the parties, hereby FIND and
AWARD, as follows:

  I.   THE PARTIES AND THE INVESTMENT AGREEMENTS

       1. Claimant, Mercantile Global Holdings Inc. (MGH), a Delaware
corporation, is a bank holding company. Its subsidiary, Mercantile Bank
International (MBI), is a digital asset custody bank under the supervision of the
Puerto Rico Office of the Commissioner of Financial Institutions (OCIF).

       2. Respondent Hamilton M&A Fund, SP (Hamilton) is a segregated
portfolio company of Hamilton Opportunity Fund, SPC (HOF). HOF is a Cayman
Islands segregated portfolio company operating as a mutual fund under Section 4(3)
of the Mutual Funds Act (Revised) of the Cayman Islands. (MGH and Hamilton will
sometimes be referred to as the Parties.)

       3. Prior to the Investment Agreements, which are the subject of this
arbitration, on December 1, 2021, MGH and HOF entered into a subscription
agreement in which HOF acquired shares in MGH (the December Agreement)
(RX A).1 The December Agreement granted HOF an option to purchase 100% of the
issued and outstanding shares of MGH’s various stock classes (the First Option)
and an option to acquire new, additional MGH Series A-2 Preferred Stock to be
issued at closing (the Second Option).

       4. One of the Investment Agreements provides for Hamilton to exercise the
Second Option in the December Agreement. The other Investment Agreement




1 CX refers to Claimant’s exhibits and RX refers to Respondent’s exhibits.
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provides for Hamilton to purchase additional shares of Class A Common Stock.
CX 1 and CX 2.

 II.   DISPUTE RESOLUTION AND GOVERNING LAW

       5. Section 9(a) of each of the Investment Agreements states, in relevant
part, as follows:

       This Investment Agreement will be governed by and construed in
       accordance with the laws of the State of Delaware, without giving
       effect to principles of conflicts of laws thereof. Any controversy or claim
       arising out of or relating to this Investment Agreement or the breach
       thereof, shall be determined through confidential binding arbitration
       administered pursuant to the expedited rules of the AAA and the
       judgment on the award rendered therein may be entered in any court
       having jurisdiction thereof. Each party shall initially be responsible for
       its own attorney fees, costs, and expenses of arbitration. The arbitrator
       may include, in the award, an assessment of expenses of arbitration
       and the costs thereof with an award of reasonable attorney fees to the
       prevailing party.

       6. The arbitration clause does not specify an arbitral seat.

III.   PROCEDURAL HISTORY

       7. The Tribunal does not consider it necessary to describe the entire
procedural history. I describe here only the procedural rulings related to the
presentation of claims and defenses in this Arbitration.

       8. MGH commenced this Arbitration on September 30, 2022 by service of a
Notice of Intention to Arbitrate and Statement of Claim on Hamilton. The
International Centre for Dispute Resolution (ICDR), the international division of
the American Arbitration Association (AAA), acknowledged receipt on October 6,
2022. On November 4, 2022, MGH filed its Corrected Demand for Expedited
Arbitration. On December 29, 2022, Hamilton filed its Answer to Corrected Demand
for Expedited Arbitration.

       MGH is represented in this arbitration by:




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      Mark Klapow
      Laura Schwarz
      Michael Williams
      CROWELL & MORING LLP
      1001 Pennsylvania Avenue, NW
      Washington, DC 20004

      and

      Jean G Vidal Font
      FERRAIUOLI LLC
      221 Ponce de Leon Ave, 5th Floor
      San Juan, PR 00917

      9. Hamilton is represented in this arbitration by:

      Jeremy W. Schulman
      Jeffrey S. Gavenman
      Sabina Schiller
      Mace Phillips
      SCHULMAN BHATTACHARYA, LLC
      6116 Executive Boulevard, Suite 425
      North Bethesda, MD 208522

      10.    The Tribunal, which was selected by the Parties in accordance with the
Investment Agreements, and whose appointment was formalized by the ICDR
through its letter dated April 19, 2023, is:

      Steven Skulnik
      438 West 23rd St.
      New York, NY 10011

      11.    In its April 19, 2023 letter to the Tribunal, the ICDR noted that “[t]his
matter is being administered under the International Dispute Resolution
Procedures as in effect March 1, 2021” (the ICDR Rules). On April 21, 2023, the
ICDR notified the Parties of the Tribunal’s appointment. The Tribunal made certain




2 Prior to the evidentiary submissions, Pietrantoni Mendez & Alvarez LLC, Ballard Spahr

LLP, and McConnell Valdes LLC made submissions on behalf Hamilton or its affiliates.
Once the Schulman firm appeared, in June 2023, it took the lead.


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disclosures, to which the Parties had no objection. The Tribunal’s appointment was
reaffirmed by the ICDR by letter dated May 10, 2023.

      12.       As noted above, the arbitration clause provides for expedited
arbitration. Therefore, the International Expedited Procedures also apply.

      13.       Upon its appointment, the Tribunal scheduled a procedural conference
to be held by videoconference on May 26, 2023. By email dated May 18, 2023, the
Tribunal requested, among other things, that the Parties meet and confer regarding
choosing the arbitral seat and to be ready to discuss that issue at the procedural
conference.

      14.       The procedural conference was held as scheduled and resulted in
Amended Procedural Order #1, dated May 26, 2023 (PO1), providing, among other
things, that:

              a. The Parties confirmed there are no conditions precedent that must
                  be satisfied before the jurisdiction of the Tribunal vests.

              b. The Parties confirmed that the Tribunal has jurisdiction to
                  determine the claims asserted in the pleadings filed in this
                  Arbitration.

              c. The Parties agreed that the arbitral seat is New York, NY and that
                  the arbitration is to be conducted in English.

              d. The Parties agreed that the substantive law applicable to this
                  dispute is Delaware law.

              e. The Parties agreed that the ICDR Rules and the International
                  Expedited Procedures apply.

              f. Claimant would identify its expert by June 5, 2023, and Respondent
                  would identify its expert by July 5, 2023.3


3 Because Claimant has the burden of proof on damages, it was agreed that Claimant would

submit its written expert testimony in the first round of submissions and Respondent would


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             g. Both sides would make their first written merits submissions by
                 June 28, 2023.

             h. After receipt of the first submissions, the Parties would confer on
                 whether an exchange of documents material to the dispute and not
                 already included in the written submissions is appropriate. Any
                 disputes concerning document disclosure would be promptly
                 submitted to the Tribunal for decision by means of a Redfern
                 schedule.

             i. Both sides would make their responsive written merits submissions
                 by July 14, 2023.

             j. The merits hearing would proceed at 10:00 am EDT on
                 July 24, 2023, at the offices of the AAA/ICDR, 150 East 42nd Street,
                 New York, NY 10017.

             k. The arbitral award would state the reasons on which it rests.4

       15.    On June 28, 2023, Claimant submitted a memorandum of law and
witness statements of James Collins and Rene Carson, with exhibits. Claimant also
submitted an expert report from David Abshier and John Hekman with exhibits. On
the same day, Respondent submitted a memorandum of law and a witness
statement from Georgette Adonis-Roberts with exhibits.

       16.    Also on June 28, 2023, the Parties submitted a confidentiality
stipulation, which the Tribunal “so ordered” on June 29, 2023.


offer rebuttal expert evidence during the second round. This order of presentation was
confirmed by an email from the Tribunal on June 11, 2023. Each side was required to
disclose its expert a few weeks before the deadline for each report to ensure there was no
conflict of interest.
4 PO 1 also memorialized that Respondent requested early disposition / bifurcation

regarding liability before submitting proof regarding damages. Respondent was given until
June 2, 2023 to request leave to do so under Article 23 of the ICDR Rules. On June 2, 2023,
Respondent notified the Tribunal that it “decided against seeking leave to file an
application for bifurcation and early disposition.”


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       17.    The Parties then discussed the exchange of information under Article
24 of the ICDR Rules. A dispute arose over certain requests for documents made by
Respondent to Claimant. The Parties submitted a Redfern Schedule on July 13,
2023. The Tribunal made rulings on the Redfern Schedule on July 14, 2023.5

       18.    On July 18, 2023, Claimant submitted a reply memorandum of law, a
witness statement from Eric Edwards,6 and a supplemental witness statement from
Rene Carson. On the same day, Respondent submitted a reply memorandum of law,
a supplemental witness statement from Georgette Adonis-Roberts, and an expert
report from Keith A. Hock. Both sides submitted additional exhibits.

       19.    On July 20, 2023, Claimant’s counsel advised Respondent’s counsel
that they wished to cross-examine Ms. Adonis-Roberts. Respondent’s counsel
advised that they would make her available for cross-examination via
videoconference because she was in the Middle East and would not be able to make
arrangements to attend the hearing in-person. Claimant’s counsel objected and
asked the Tribunal to strike her witness statement. The Tribunal denied the
request to strike and advised counsel that it would hear her oral testimony by
videoconference.

       20.    The merits hearing was held as scheduled on July 24 and 25, 2023.
Oral testimony was given by Mr. Collins, Ms. Carson, Ms. Adonis-Roberts (via
videoconference), Mr. Abshier, Dr. Hekman, and Mr. Hock.

       21.    The Tribunal received post-hearing memoranda of law and costs
submissions on August 15, 2023. On August 21, 2023, MGH updated its costs
submission.

5 Claimant’s main objection to the requests for information was that Article 24 of the ICDR

Rules does not apply to cases under the International Expedited Procedures. Respondent’s
requests for documents were limited and targeted and would not interfere with the
expedited schedule. The Tribunal overruled that objection.
6 Mr. Edwards is President of MBI. By email dated July 21, 2023, counsel for Hamilton

advised that Hamilton was not challenging Mr. Edwards’ testimony and he need not attend
the hearing to be cross-examined. Mr. Edwards attended the hearing as an observer.


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IV.    FACTUAL BACKGROUND

       22.     This section summarizes the facts the Tribunal considers relevant to
determine the issues in this Arbitration. Except where disputed facts are identified
below, the facts recited in this section are largely undisputed. To the extent that
there is any disagreement as to the facts recited here that are not identified as
disputed, they constitute findings of fact by the Tribunal.

             A. The Parties’ Transactions

       23.     In 2017, Mr. Collins, MGH’s CEO and Chair of the Board, and others
founded MGH “as an accelerator for ideas in fintech.” Collins WS ¶3.7 MBI obtained
regulatory approval to operate and launched its business in early 2019. Id. ¶4.

       24.     HOF and Hamilton are managed by Hamilton Investment
Management Ltd., a company organized and operating under the laws of the British
Virgin Islands. Adonis-Roberts WS ¶ 4.8

       25.     After engaging in preliminary discussions, HOF and MGH agreed that
HOF or its affiliate would acquire MGH through a series of stock purchases. The
transaction was documented by the December Agreement. RX A.

       26.     The December Agreement provides for HOF to purchase newly issued
shares of MGH’s Series A-2 Preferred Stock for an aggregate purchase price of
$1,000,000.00. Id. at 1. Section 2(a) of the December Agreement provides HOF (or
its affiliate) with an option to purchase 100% of the issued and outstanding shares
of MGH’s various stock classes (the First Option). According to the December
Agreement, the aggregated value of the shares to be acquired through the exercise
of this First Option totaled $12,610,747.00. Id. at § 2(b). Section 2(b) of the
December Agreement also grants HOF or its affiliate the option to acquire



7 Witness statements will be referred to as “WS.”


8 Georgette Adonis-Roberts is a former Associate Director - Legal and Compliance of

Hamilton Capital Holding Ltd., another affiliate of Hamilton and HOF.


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additional shares of MGH’s Series A-2 preferred stock for $12,089,253.00 (the
Second Option).

        27.   MGH and HOF then executed a series of agreements (the
Subscription Agreements). RX B-E. Hamilton and MGH also entered into a
Revolving Loan Facility Agreement of $1 million on July 18, 2022. RX F.
MGH then drew down $450,000 under the Revolving Loan Facility Agreement.
Adonis-Roberts WS ¶ 11. The capital Hamilton provided to MGH before September
16, 2022, via the December Agreement, Subscription Agreements, and the
Revolving Loan Facility, was to ensure that MGH and MBI remained operational
while awaiting regulatory approval of the acquisition of MGH by Hamilton. Id. ¶ 12.
Hamilton is an “Affiliate” of HOF as that term is defined in the December
Agreement because, as a segregated portfolio of HOF, Hamilton is under common
control with HOF and the Fund Manager. Hamilton therefore had the same
purchase rights as HOF under the December Agreement. Id. ¶ 13.

        28.   Any investment of over ten percent in an OCIF-regulated entity like
MBI requires OCIF’s approval in advance (a so-called change-of-control
transaction). Collins WS ¶ 57. In April of 2022, the Parties submitted their written
request to OCIF to allow Hamilton’s proposed investment. CX 9. On August 2, 2022,
OCIF approved the transactions proposed by the Parties, subject to the terms and
conditions of its letter, including closing within 30 days. CX 10. The Parties then
asked for and received an extension of time to close until September 16, 2022. CX 14
at 3.

        29.   The Parties then negotiated the further agreements contemplated by
the December Agreement. Part of Hamilton’s funds (about $13 million) was to be
used to purchase the outstanding shares of MGH held by its legacy investors. A
Stock Purchase Agreement (SPA) was negotiated to reflect that purchase. RX G.
The Parties also negotiated an Exchange Agreement and Plan of Reorganization.
RX H. In addition, there were the two Investment Agreements at issue in this




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Arbitration (CX 1 and 2) totaling about $37 million to provide working capital and
to retire existing debt.

       30.     On Friday, September 16, 2022, the Parties signed the four
agreements referred to above. At 4:11 p.m. that day, Hamilton instructed its bank,
Silvergate Bank, to wire the approximately $49 million (the total purchase price
under the SPA and two Investment Agreements) to MGH. RX K.

             B. Seizure of Hamilton’s Funds in the US

       31.      Before the wire transaction could be completed, on Sunday,
September 18, 2022, the US Government seized funds on deposit from Hamilton
and its affiliates in connection with an investigation of certain of Hamilton’s
principals for fraud and money laundering, among other crimes. See CX 53 ¶ 54 (d)
(the indictment allegation that the Government seized funds from account number
5090042770, the account from which wired funds were to come from).9 The Parties
were not notified of the seizure at the time and they each prodded Silvergate Bank
for an explanation. See, e.g., CX 43. It is undisputed that the seizure of funds went
into effect and remains in effect. Hamilton does not have any funds other than the
funds held at Silvergate. Adonis-Roberts WS ¶ 23.10

 V.    THE PARTIES’ CONTENTIONS

       32.     Hamilton concedes that the Investment Agreements were made but
not performed. Hamilton’s defense is that performance was excused. Therefore, this
Award will present Hamilton’s contentions first and MGH’s responses thereto
second.




9 The indictment was not filed until March 6, 2023 and was unsealed on March 15, 2023.

The allegations in the indictment were not known to the Parties at the time of seizure.
10 HOF and its affiliates have other banking relationships, including with MBI. The Parties

dispute whether other funds belonging to HOF or its affiliates were available to fund the
purchases contemplated by the Investment Agreements and the SPA. Given the Tribunal’s
legal conclusions, this dispute is immaterial and will not be addressed further.


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             A. Hamilton’s Contentions

       33.     Although formally separate, the Parties entered into both Investment
Agreements and the SPA on the same date, and for a single purpose, viz.,
Hamilton’s acquisition of MGH. Hamilton concedes that the Investment
Agreements do not contain any conditions precedent to closing. However, Hamilton
points out, Recital “b” in both Investment Agreements refers to the SPA and the
SPA contains conditions precedent to closing.11

       34.     The SPA also defines “Transaction Documents” to include both
Investment Agreements and article 11.6 of the SPA states “[i]n the event of any
inconsistency between the statements in the body of this Agreement and those in
the other Transaction Documents, the Exhibits and Schedules (other than an
exception expressly set forth as such in the Schedules), the statements in the body
of this Agreement will control.”

       35.     The portion of the SPA that Hamilton relies upon is article 8.1, which
states:

       8.1   Conditions to Obligations of All Parties. The obligations of each
       party hereto to consummate the transactions contemplated by
       this Agreement shall be subject to the fulfillment, at or prior to the
       Closing, of each of the following conditions:

              (a) No Governmental Authority shall have enacted, issued,
       promulgated, enforced or entered any Governmental Order which is in
       effect and has the effect of making the transactions contemplated by
       this Agreement illegal, otherwise restraining or prohibiting
       consummation of such transactions or causing any of the transactions
       contemplated hereunder to be rescinded following completion thereof;
       and

              (b) No Action shall have been commenced against Buyer,
       Sellers or the Company, which would prevent the Closing.




11 Hamilton explains that is not relying on the recitals to impose any rights or obligations,

but rather as evidence that the contracts relate to a single transaction.


                                              10
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RX G; emphasis added.12

       36.     Hamilton urges that (a) the Investment Agreements were part of the
transactions contemplated by the SPA, (b) the seizure of Hamilton’s funds by the
US Justice Department is a “Governmental Order” that “has the effect of …
restraining or prohibiting consummation of such transactions,” and (c) the seizure
was an Action13 that prevented the closing.

       37.     To support its argument that the transactions in these three
agreements were part and parcel of one transaction, Hamilton cites the submission
of the entire proposed transaction to OCIF for approval. CX 9. From this, citing
Doehler N. Am., Inc. v. Davis, 2023 WL 3569775, at*3 (D. Del. May 19, 2023),
Hamilton argues that related contemporaneous documents must be read together,
as one contract.14 Hamilton also cites Ashall Homes Ltd. v. ROK Ent. Grp. Inc.,992
A.2d 1239, 1250-51 (Del. Ch. 2010) for the proposition that share sale agreements
and subscription agreements must be read together because “they also effectuated
separate steps of a single integrated scheme…”).15

       38.     Turning to the SPA, Hamilton argues that, under article 8.1, the
Government’s seizure “has the effect of making the transactions contemplated by


12 The Parties disagree on the meaning of the word “consummate.” MGH says it means the

signing of the SPA while Hamilton says it means the closing of the transaction.
13 The SPA defines “Action” as “any claim, action, cause of action, demand, lawsuit,

arbitration, inquiry, audit, investigations, notice of violation, proceeding, litigation, citation,
summons or subpoena of any nature, including civil, criminal, administrative, regulatory or
otherwise, whether at Law or in equity.”
14 The Doehler court cites prior Delaware court decisions and quotes 11 Samuel Williston &

Richard A. Lord, A Treatise on the Law of Contracts § 30:26 (4th ed. 2022) (“[T]he principle
that all writings which are part of the same transaction are interpreted together also
applies when incorporation by reference of another writing may be inferred from the
context surrounding the execution of the writings in question.”).
15 Relatedly, Hamilton cites to law supporting a step transaction doctrine, requiring

agreements to be read together, citing to cases such as Coughlan v. NXP B.V., 2011 WL
5299491, at *7 (Del. Ch. Nov. 4, 2011) (applying step transaction doctrine to construe
contracts when they were part and parcel of one transaction, which would result in joint
venture’s ownership of company’s assets).


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this Agreement illegal” within the meaning of article 8.1. Moreover, given the
seizure, Hamilton argues, even if the wire transfer had succeeded, the Government
could have seized those funds from MGH.16

      39.    In any event, Hamilton argues, the seizure of all of Hamilton’s funds
“restrains” the transaction within the meaning of article 8.1. To support his
argument, Hamilton cites Direct Mktg. Ass’n v. Brohl, 575 U.S. 1, 12-13 (2015) for
the proposition that, read broadly, “restrain” can mean “inhibit,” and, read
narrowly, can mean “prohibit.” Hamilton argues that the broad meaning should
apply here because article 8.1 already contains the word “prohibit” so the word
“restrain” must have been included to mean something else, i.e., “inhibit.”

      40.    While conceding that it did not assert article 8.1 as supporting an
excuse for not performing under the Investment Agreements until it filed pleadings
in this Arbitration, Hamilton argues that it had no duty to make its legal
arguments ahead of time. Hamilton also concedes that a party can, under doctrines
such as waiver and estoppel, be precluded from relying on a failure of a condition as
an excuse for nonperformance, but here, Hamilton urges, the elements of waiver
and estoppel were not established. There is no evidence, Hamilton says, that it (a)
intended to waive its excuse for not being able to wire the funds or (b) misled MGH
as to any fact, a necessary element of estoppel.

      41.    Hamilton argues that, even if its performance was not excused, MGH
should collect no damages or only nominal damages. Hamilton argues that MGH’s
future lost profit models are unduly speculative in that those models rely on
projections of MGH’s lost future earnings when MGH has no history of prior
earnings. Moreover, Hamilton criticizes MGH’s damages expert, Dr. John Hekman,




16 The seizure order (sometimes referred to as a seizure warrant) was not produced during

the exchange of information. It cannot be known what the Government’s position would
have been had the wire transfer been made before the seizure.


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for relying on the “McKenzie Valuation” (CX 8)17 and not doing his own diligence to
understand the basis for those projections or verify their reasonableness.

       42.     Instead, Hamilton urges that the formula for damages in this case
should be the difference between the contract price in the Investment Agreements
and the market value of the shares to be purchased by Hamilton from MGH. In this
case, Hamilton claims that the market value is the contract price because the
Investment Agreements were the result of arms-length negotiations. Given no
difference between those two measures, Hamilton says, the damages should be zero.

       43.     Finally, Hamilton argues that any damages award must be offset by
the $450,000 MGH drew down under the Revolving Loan Facility Agreement.
Adonis-Roberts WS ¶ 11.18

             B. MGH’s Contentions

       44.     First, MGH argues that the Investment Agreements contain no
conditions precedent. Moreover, MGH says, had full performance under the SPA
been required as a condition precedent to performance of the Investment
Agreements, the Parties would have structured the payment under the Investment
Agreements to occur after all obligations under the SPA were fulfilled. Instead,
Hamilton signed the Investment Agreements on September 16, 2022, and then
immediately initiated performance by sending a wire to fund its obligations under
the SPA and the Investment Agreements.

       45.     Next, MGH argues, that even if the conditions stated in the SPA
applied also to the Investment Agreements, “a party cannot manufacture the failure


17 McKenzie & Associates appraised the value of MBI assuming that Hamilton invested

$100 million in MBH and other assumptions given to it by the Parties.
18 Hamilton also seeks, as an offset, $28.8 million that MBI allegedly took from bank

accounts it held in the name of the “Himalaya Entities,” which may be affiliates of
Hamilton. See Adonis-Roberts WS ¶ 24. However, the US Government seized all but $5
million of that money. In any event, those accounts were not in the name of the Respondent
in this arbitration and cannot be the basis of an offset. Put another way, this Tribunal has
no jurisdiction to consider the claims, if any, of the Himalaya Entities against MBI.


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of its own condition precedent,” citing WaveDivision Hldgs., LLC v. Millenium
Digital Media Sys., L.L.C., 2010 WL 3706624, at *14 (Del. Ch. Sept. 17, 2010) and
other cases (emphasis in the original). Here, MGH argues, the only reason the SPA
was not performed is because Hamilton did not deliver the proceeds required by
that agreement. MGH argues that a failure to pay is no defense as a matter of law.

      46.      In the alternative, MGH argues, even if article 8.1 of the SPA applied
to the Investment Agreements, performance would only be excused if the seizure
order restrained, prohibited, or rescinded the SPA or made it illegal. MGH contends
that it is unlikely the seizure ordered even mentioned any of the agreements or
MGH.19

      47.      MGH directs the Tribunal’s attention to article 5.2 of the SPA, which
states:

      5.2    No Conflicts; Consents. The execution, delivery and performance
      by Buyer of this Agreement and the other Transaction Documents to
      which it is a party, and the consummation of the transactions
      contemplated hereby and thereby, do not and will not: (a) conflict with
      or result in a violation or breach of, or default under, any provision of
      the organizational documents of Buyer; (b) conflict with or result in a
      violation or breach of any provision of any Law or Governmental Order
      applicable to Buyer; or (c) require the consent, notice or other action by
      any Person under any contract to which Buyer is a party. No consent,
      approval, Permit, Governmental Order, declaration or filing with, or
      notice to, any Governmental Authority is required by or with respect to
      Buyer in connection with the execution and delivery of this Agreement
      and the other Transaction Documents and the consummation of the
      transactions contemplated hereby and thereby, except for such
      consents, approvals, Permits, Governmental Orders, declarations,
      filings or notices which have been obtained.

      48.      According to MGH, even if the seizure order prohibited or restrained
the SPA and the Investment Agreements, Hamilton was in breach of its contractual




19 As noted, the seizure order was not provided in the information exchange phase and was

not submitted into evidence.


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representations. In connection with the representations, MGH elicited the following
testimony from Ms. Adonis-Roberts:

       Q Okay. So in terms of allocation of risk, you understood the truth or
       falsity of these representations, that risk fell on Hamilton alone.

       Do you understand that?

       A Representations and warranties made by the buyer would fall on the
       buyer, yes.

TR. 206:16-21.20

       49.       Next, MGH argues that Hamilton may not invoke a failure of condition
precedent because a condition precedent may only be invoked before performance
because performance is what the condition is precedent to, citing to SLMSoft.com,
Inc. v. Cross Country Bank, 2003 WL 1769770, at *12 (Del. Super. Apr. 2, 2003) and
other cases. Therefore, according to MGH, “conditions precedent cannot be invoked
after performance is due or has commenced” (emphasis added). Here, performance
commenced (the Parties signed the agreements) but was not completed (funds to be
exchanged for shares of stock).21

       50.       Next, MGH argues that even if Hamilton could have invoked the
failure of a condition precedent at one time, Hamilton needed to assert that defense
immediately, citing Amirsaleh v. Bd. of Trade of City of N.Y., 27 A.3d 522, 529 (Del.
2011) and other cases.

       51.       Regarding damages, MGH seeks expectation damages quantified
either as:

             •   $118,611,623, based on the $37 million called for by the
                 Investment Agreements.




20 “TR.” refers to the transcript of the merits hearing.


21 MGH cites to no legal authority for the proposition that a failure of a condition precedent

in these circumstances cannot be invoked.


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               •   $313,909,958, based on the full $100 million investment that
                   MGH expected to be invested by Hamilton.22

         52.       MGH argues that expectation damages are “based on the reasonable
expectations of the parties that existed before or at the time of the breach” citing
PharmAthene, Inc. v. SIGA Techs., Inc., 2014 WL 3974167, at *7 (Del. Ch. Aug. 8,
2014). MGH also argues that later events that do not transpire as expected (such as
a disruption to the cryptocurrency markets) are not relevant in assessing damages,
citing Cura Fin. Servs. N.V. v. Elec. Payment Exch., Inc., 2001 WL 1334188, at *20
(Del. Ch. Oct. 22, 2001).

         53.       Applied to the facts here, MGH submits that the “McKenzie Valuation”
(CX 8) reflects the expectations of the Parties and should be used in calculating
damages. CX 61 shows that Hamilton’s Director, Mr. Kin Ming Je (also known as
William Je) used these projections to raise funds from investors to effectuate
Hamilton’s investments in MGH. According to MGH, Hamilton should be held to
those projections. Further, MGH argues, Hamilton offered no evidence showing that
MGH failed to take appropriate steps to mitigate its damages in response to
Hamilton’s breach nor has Hamilton attempted to quantify the amount of damage
MGH might have avoided through additional steps it claims MGH should have
taken.

         54.       Regarding the alternative damages theory of the difference between
contract price and market value, MGH notes that it tried to sell securities to others
after the Hamilton transactions failed to close but received no offers. This is
unremarkable, MGH says, because the shares that would have been issued to
Hamilton are not easily transferable, given their lack of registration and the
regulatory permissions required for a direct or indirect change of control.


22 MGH concedes that there was no signed writing that committed Hamilton to invest $100

million in MGH. MBI, however, represented to OCIF that Hamilton “expects to raise
approximately US$100 million from sophisticated investors, most of which is expected to be
invested in MGH and, in turn, contributed as equity to MBI for general corporate
purposes.” CX 9, at 5.


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Analogizing the sale of securities here to a hypothetical sale of goods under Article 2
of the Uniform Commercial Code, MGH argues a seller may recover the full contract
price even if tender is impossible where the “goods” to be sold were “lost or damaged
. . . after the risk of their loss has passed to the buyer.” 5A Del. Ch. 1953,
§2-709(1)(a). Hamilton’s obligation, MGH says, under circumstances where
Hamilton knew it had the risk of loss, is equivalent to a buyer of goods that are
“damaged” or “destroyed” because the shares that Hamilton would have received
cannot be readily reissued to a new buyer, even if there were a new buyer
expressing interest.

      55.      Due to the September 16, 2022 deadline to close imposed by OCIF, if
an analogy to the sale of goods is useful, MGH asserts, the “goods” are like a custom
cake that will spoil overnight. The shares to be issued to Hamilton were specifically
for this transaction and could only be sold to the buyer approved by OCIF and only
if payment were made by September 16. Therefore, it would not be appropriate to
take any deduction for the value of shares that can no longer be sold to Hamilton or
anyone else.

      56.      MGH concludes its post-hearing brief with the statement “it is
appropriate to offset the $450,000 loan described in the Line of Credit Security
Agreement that Hamilton introduced into evidence.”

VI.   ANALYSIS

            A. Issue One: Should the Investment Agreements and the SPA be
               Considered as a Single, Integrated Transaction?

      57.      Hamilton has the better argument here. Courts in Delaware regularly
treat related contemporaneous documents as one contract, especially where the
contracts are separate steps of a single integrated scheme. Doehler, 2023 WL
3569775, at*3; Greenstar IH Rep, LLC v. Tutor Perini Corp., 2019 WL 6525206, at
*9 (Del. Ch. Dec. 4, 2019) Ashall Homes,992 A.2d at 1250-51.




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      58.     That result is appropriate here because it was not possible to close on
the Investment Agreements without closing on the SPA. OCIF never approved the
sale of the shares in the Investment Agreements without the simultaneous sale of
the shares in the SPA. See CX 10, at 3, defining the Transaction to be approved as
“[t]he Outstanding Shares Purchase and the Newly Issued Shares Purchase”
(emphasis added).

      59.     Therefore, the Tribunal concludes that if Hamilton had a valid excuse
to rescind the SPA, that excuse applies to the Investment Agreements as well.

            B. Issue Two: Is Hamilton’s Performance Excused under Article
               8.1 of the SPA?

      60.     This is a closer call, but MGH has the better argument. When both
sides signed the Investment Agreements, the uncontradicted evidence shows that
both sides understood that there were sufficient funds at Silvergate Bank and they
expected the wire transfer to be made without delay or incident.23 As noted above,
article 8.1 of the SPA makes the entire transaction voidable if there is a
governmental order “restraining or prohibiting consummation” of the transactions.
Under the circumstances, it is plausible to define “restraining” as “inhibiting” the
transactions and the seizure order arguably inhibited the transactions.

      61.     But that does not give Hamilton the right to avoid its contractual
commitments. That is because in article 5.2 of the SPA, Hamilton represented that
“[t]he execution, delivery and performance by Buyer of this Agreement and the
other Transaction Documents to which it is a party, and the consummation of the
transactions contemplated hereby and thereby, do not and will not…(b) conflict with
or result in a violation or breach of any provision of any Law or Governmental
Order applicable to Buyer.” As conceded by Ms. Adonis-Roberts (TR. 206:16-21), as
to “the truth or falsity of these representations, that risk fell on Hamilton alone.” In



23 Hamilton has not invoked the doctrine of mutual mistake. Therefore, the Tribunal does

not consider that doctrine as an excuse for nonperformance.


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other words, the seizure of Hamilton’s funds gave MGH the option of avoiding the
transactions, but not Hamilton, because Hamilton assumed that risk.

      62.     Therefore, the Tribunal concludes that Hamilton had no valid excuse
to avoid its obligations under the Investment Agreements.

            C. Issue Three: Do the Doctrines of Waiver and Estoppel Bar
               Hamilton from Invoking Failure of Condition Precedent?

      63.     Given the Tribunal’s decision on Issue Two, I need not reach the issue
of waiver and estoppel. For completeness, the Tribunal notes that Hamilton has the
better argument.

      64.     “Waiver is the voluntary and intentional relinquishment of a known
right.” In re Coinmint, LLC, 261 A.3d 867, 893 (Del. Ch. 2021). As the party
asserting waiver, MGH was required to demonstrate waiver with “unequivocal
facts.” Id. MGH offers no proof that Hamilton intended to waive its rights under the
agreements. Indeed, in the case it relies on, Amirsaleh, the court noted that the
standards for demonstrating waiver are “quite exacting.” 27 A.3d at 529. In that
case, the defendant expressly waived a deadline by accepting late delivery of certain
instruments. Id. MGH offers no authority holding that mere silence constitutes
waiver.

      65.     To establish estoppel, MGH was required to prove, among other things,
that it lacked knowledge of the truth of the facts in question and detrimentally
relied on Hamilton’s words or conduct. See U.S. Bank Nat. v. Swanson, 918 A.2d
339, at *2 (Del. 2006). MGH and Hamilton both believed that there was no
impediment to funding on September 16 and were initially unaware of any action by
the Government. Both sides learned of the Government seizure at around the same
time and both tried to obtain the release of the funds. There is no evidence in the
record that Hamilton misled MGH regarding the funds’ seizure.

      66.     That the legal basis for Hamilton’s alleged excuse was made for the
first time in a submission in this Arbitration is of no moment. MGH simply has not
established waiver or estoppel.


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            D. Issue Four: Has MGH Proved Future Lost Profit Damages?

      67.      Claimant’s future lost profits damages are based on the McKenzie
Valuation of MBI as of December 31, 2021 (CX 8), which Hamilton used to raise
funds from investors to effectuate Hamilton’s investments in MGH (see CX 61).
McKenzie, however, only performed arithmetic on projections supplied to it by the
Parties. Page one of the McKenzie Valuation states:

      Our report is based on the information provided by your Company and
      team of advisors, which include, amongst other information, historical
      financial statements, company information, and other relevant
      materials to this valuation. We have not audited or verified any of the
      information that has been provided to us by your team, and if matters
      had been materially different from the information provided, we might
      have come to a different opinion. Accordingly, we accept no
      responsibility for the underlying data presented in this report. The
      potential users of this report should be aware that valuations are
      based on potential future earnings and will probably vary from the
      projections in this valuation, and the variations could be material.

      68.      Claimant’s expert on damages, in turn, relied on the McKenzie
Valuation:

      To ascertain [MGH’s expected income], we relied on the income
      projections and valuation from the appraisal of MBI that McKenzie &
      Associates prepared for Hamilton in January 2022.

Expert Report of Hekman and Abshier at 22.

      69.      At the hearing, Dr. Hekman testified as follows:

      Q If those [earnings projections that are contained in the McKenzie
      report] are inaccurate or for whatever reason can’t be relied upon, then
      neither could your opinions of value; correct?

      A It would certainly affect my opinion. Well, specifically, my opinion is
      driven by the forecast of the first year’s earnings in the new
      investment.

      Q Right. So the 42 million of first year earnings projection that comes
      in the McKenzie report; right?

      A Yes.



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       Q So if that number, for whatever reason, if that’s just unreliable and
       can’t be relied upon, then you can agree that your opinions 2 and 3
       [regarding future lost profits] also could not be relied upon?

       A Well, they would not be accurate if that number is not accurate,
       right. They do rely on it.

TR. 272-73.

       70.    There has been no showing that the projections had any basis in
reality. MBI’s own financial statements (Exhibit 1 to the McKenzie Valuation) show
it was not making profits in 2020 and 2021:




CX 8 at 34.

       71.    What MGH offers is a classic hockey stick projection, that is, one that
shows the company’s last few years of actual results as flat or declining and then
sharply turning up for future years in the shape of a hockey stick.24 The projection
(Exhibit 20 to the McKenzie Valuation) shows past losses and dramatically rising
future projected earnings:




24 See, e.g., Berkshire Mergers And Acquisitions Glossary, available at

https://berkshirebsa.com/mergers-and-acquisitions-glossary/ (“Hockey Stick: the general
shape and form of a chart showing revenue, customers, cash or some other financial or
operational measure that increases dramatically at some point in the future. Entrepreneurs
often develop business plans with hockey stick charts to impress potential investors.”)


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CX 8 at 53.

           72.   The Tribunal finds these projections to be unreliable as a matter of
fact. 25

           73.   As a matter of law, moreover, expectation damages are not available
unless they can be proved with reasonable certainty. See, e.g., Callahan v. Rafail,
2001 WL 283012, at *1 (Del. Super. Mar. 16, 2001)); Amaysing Techs. Corp. v.
Cyberair Commc’ns, Inc., 2004 WL 1192602, at *4 (Del. Ch. May 28, 2004).
Speculative damages are not recoverable. See Interim Healthcare, Inc. v. Spherion
Corp., 884 A.2d513, 571 (Del. Super. Ct.), aff’d, 886 A.2d 1278 (Del. 2005)
(“[D]amages which are considered too remote and speculative are not recoverable.
Where actual pecuniary damages are sought, there must be evidence of their
existence and extent, and some data from which they may be computed,” quoting 24
Williston on Contracts, § 64:8 (4th Ed. 2002)).

           74.   In addition, “Delaware courts regularly refuse to award damages based
on the lost profits from a new business, deeming evidence of lost profits to be too
speculative, uncertain, and remote when there is no history of prior profits.” Metro



25 That Mr. Je has been indicted on multiple counts of securities fraud and wire fraud (see

CX 53) calls into question whether the projections, made to solicit investors, were made in
good faith.


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Storage Int’l LLC v. Harron, 275 A.3d 810, 860 (Del. Ch. 2022) (citing In re Heizer
Corp., 1990 WL 70994, at *3 (Del. Ch. May 25, 1990) (declining to award lost profits
for a “start-up” company whose ability to generate profits, in any amount, was
entirely speculative)).

       75.     MGH instead attempts to argue that where the fact of damages is
established, certainty is not required (MGH Post-Hearing Brief at 9). However, as a
case cited by MGH demonstrates, “future lost profits must be established by
‘substantial evidence’ and not by speculation.” Agilent Techs., Inc. v. Kirkland, 2010
WL 610725, at *29 n.271 (Del. Ch. Feb. 18, 2010).

       76.     The Tribunal agrees with Hamilton and holds that the projections in
the McKenzie report are an insufficient basis to award lost profits under Delaware
law, as discussed in the cases referenced above. For these reasons, the Tribunal
finds that MGH has not proved that its future lost profit damages are reasonably
calculable or non-speculative.26

             E. Issue Five: Has MGH Proved Damages Based on the Difference
                Between the Contract Price and Market Value?

       77.     On this issue, each side has staked out extreme positions. MGH claims
that the market value of the shares Hamilton committed to purchase was zero.
MGH analogizes the shares to a cake that becomes worthless when stale. Hamilton
claims that the market value of the shares was equal to the contract price because
the contract price was negotiated in an arms-length transaction.




26 During the redirect examination of Mr. Abshier, he testified that “MBI does not lend off

of deposits.” Mr. Collins then interjected: “A hundred percent of our money in overnight
cash.” TR. 258. This unusual business model would also cast doubt on the reliability of the
projections. See Hamilton Post-Hearing Brief at 42: “Dr. Hekman also adopted this $42
million income figure from the McKenzie Valuation without connecting any of the dots to
explain how Hamilton’s injection of capital would lead MBI to generate $101 million of new
revenue in the span of only a year. . . Dr. Hekman also accepted this ‘fantastic’ $42-million-
dollar figure for a financial entity that primarily generates revenue through fees and
interest earned in the overnight funds market.”


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      78.    Neither position is tenable. Clearly, MGH is looking for new investors
and will issue shares that are similar to those to have been issued to Hamilton. For
those shares, MGH will receive money. Had such a transaction happened already,
the money received for those shares would have been the resale price to be deducted
from the contract price. There having been no such transaction, the market value,
to be deducted from the contract price, must be estimated.

      79.    Hamilton’s position is also flawed. Had the shares been worth the
contract price, another purchaser would have stepped in. Clearly the shares were
worth $37 million to Hamilton, but there is no proof that any other market
participant valued the investment at that price.27

      80.    Due to these extreme positions, neither side’s experts made an
estimate of market value when presenting their opinions. During colloquy at the
hearing, MGH’s expert on damages, Dr. Hekman offered this testimony:

      In my mind the way to offset that is to say how long would it take them
      to get a replacement investment and then get the present value of
      what that would be and that would be the offset.

      ARBITRATOR SKULNIK: How would you estimate it?

      DR. HEKMAN: Well, it would be very speculative, but let’s say -- I
      don’t know whether Dave said that they might get 20 million at some
      point.

      ***

      So the 20 million, really optimistically two years after the breach, you
      discount that one year 40 percent, 20 times that brings you down to 12,
      right.

      ARBITRATOR SKULNIK: And then another year and do another 40
      percent.




27 Inasmuch as Mr. Je has been indicted for money laundering, it cannot be excluded that

taking ownership of a US bank was of more value to Hamilton than it would be to other
potential buyers.


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       DR. HEKMAN: And then another year would bring you down to like 8.
       So 8 million, if you get 20 million two years from now it’s only worth 8.

TR. 381-82

       81.    Hamilton’s damages expert, Mr. Hock, agreed with the approach but
not with discount rate proposed by Dr. Hekman:

       Well, my only comment was going to be I don’t necessarily disagree
       with the concept of if I get $20 million from two years from now, I don’t
       know that I think you discount that at the same 40 percent that you’re
       doing the valuation on, that’s all.

       ARBITRATOR SKULNIK: What discount rate would you apply?

       MR. HOCK: It’s really more of a passage in time issue at that point --

       ***

       Well, prime rate is about 8 and a quarter right now, I could get behind
       that. I would even look at like a corporate bond rate, some sort of
       weighted average cost of capital rate.

       Maybe even look at some of these comparable companies and see what
       their cost of capital is maybe. You could certainly add a few percentage
       points maybe if you want to say there’s a little bit of additional risk.
       But I don’t think you’re talking about the same level of risk as you’re
       talking about when you’re doing a business valuation if you’re using it
       to discount a future investment.

TR. 381-84.

       82.    The Tribunal accepts both sides’ estimate of $20 million in two years
discounted to the date of breach, September 16, 2022.28 The Tribunal credits Mr.
Hock’s explanation that the discount rate for a lump sum investment in two years
should be close to the company’s cost of funds, i.e., the prime rate plus a few
percentage points.




28 The Tribunal acknowledges that this value is no more than a guess. It is, however, the

only estimate offered in this case. The Parties had adequate opportunity to provide an
estimate of market value. Instead, both sides opted to “shoot the moon.”


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      83.     The Tribunal adopts a discount rate of $10%. Discounting $20 million
in two years at that rate yields a value of $16,388,190.86. The difference between
the contract price ($37,089,253.00) and market value ($16,388,190.86) is
$20,701,062.14. From this amount, MGH concedes that it is appropriate to offset
the $450,000 loan drawn under the Line of Credit Security Agreement. Therefore,
MGH is entitled to damages in the amount of $20,251,062.14.

            F. Interest

      84.     MGH argues “Prejudgment interest should also be awarded, as it is as
a matter of right in Delaware.” Claimant’s Post-Hearing Brief at 23. Hamilton does
not contest that assertion.

      85.     Claimant’s experts apply an interest rate of 2.68%. Expert Report of
Hekman and Abshier at 17-18. The Tribunal accepts this interest rate. Article 34(4)
of the ICDR Rules provides that arbitral tribunals may specify simple or compound
interest “as it considers appropriate.” Delaware courts have “traditionally
disfavored compound interest.” CIGNEX Datamatics, Inc. v. Lam Rsch. Corp., 2021
WL 212692, at *2 (D. Del. Jan. 21, 2021), quoting Gotham Partners, L.P. v.
Hallwood Realty Partners, L.P., 817 A.2d 160, 173 (Del. 2002). There are no
circumstances here to depart from the general rule.

      86.     The Tribunal directs that simple interest a rate of 2.68% apply to the
amount of this Final Award from September 16, 2022 until the earlier of when this
Final Award is paid or the date this Final Award is confirmed and merged into a
money judgment.

            G. Counsel Fees and Costs

      87.     Article 37 of the ICDR Rules provides the that arbitrators may award
reasonable legal and other costs incurred by the parties:

      R-37. Costs of Arbitration

      The arbitral tribunal shall fix the costs of arbitration in its award(s).
      The tribunal may allocate such costs among the parties if it determines



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       that allocation is reasonable, taking into account the circumstances of
       the case. Such costs may include:

                                         *    *      *

                 d. the reasonable legal and other costs incurred by the parties.29

       88.       Although MGH sought damages substantially in excess of those
awarded, MGH nevertheless achieved a large damages award. The Tribunal finds
that MGH is the prevailing party and, in its discretion, grants MGH its reasonable
counsel fees and certain of its other costs.

       89.       The Tribunal grants the following fees and expenses, which it finds to
be reasonable given the size and complexity of this case:

             •   $942,484.16, representing the value of Crowell & Moring’s time
                 at their prevailing rates for this matter.30

             •   $52,056.25, representing fees charged by counsel at Ferraiuoli
                 LLC.31

             •   $6,418.41 in transcription costs for the court reporter during the
                 hearing.

             •   $18,067.61 relating to travel, food, and lodging to attend the
                 hearing.32



29 Section 9(a) of the Investment Agreements provides that “[t]he arbitrator may include, in

the award, an assessment of expenses of arbitration and the costs thereof with an award of
reasonable attorney fees to the prevailing party.”
30 Crowell & Moring advised the Tribunal that it rendered its services to MGH on a

contingency fee basis. These fees represent the value of Crowell & Moring’s time at its
prevailing rates.
31 Ferraiuoli has not stated whether these fees have been billed and paid or represent the

value of its time at its prevailing rates.
32 MGH also seeks unspecified disbursements of both law firms totaling $17,794.66.

Without any detail, the Tribunal can make no assessment of reasonableness and the
request for those expenses is denied. MGH also seeks $90,002.54 to compensate its expert
witnesses. The Tribunal finds that MGH’s experts merely performed arithmetic on
unreliable forecasts and assumptions. Because the experts’ work was not useful to the
Tribunal, their fees and expenses are denied.


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       90.   Accordingly, the Tribunal awards Claimant’s counsel fees and
disbursements in the total amount of $1,019,026.43, plus administrative fees of the
ICDR and Tribunal compensation that are detailed in paragraph 93 infra.

VII.   AWARD

       WHEREFORE, for the reasons set forth above, the Tribunal hereby declares
and AWARDS as follows:

       91.   The Tribunal awards damages to Claimant MGH of $20,251,062.14.
Respondent Hamilton shall pay simple interest on that amount to Claimant MGH
at the rate of 2.68% per annum from September 16, 2022 until the earlier of when
this Final Award is paid or the date this Final Award is confirmed and merged into
a money judgment.

       92.   Respondent Hamilton shall reimburse Claimant MGH’s costs and
counsel fees in the amount of $1,019,026.43. Respondent Hamilton shall pay simple
interest on this amount to Claimant MGH at the rate of 2.68% per annum from the
date of transmittal of this Final Award to the Parties by the ICDR until the earlier
of when this Final Award is paid or the date this Final Award is confirmed and
merged into a money judgment.

       93.   The administrative fees of the ICDR totaling $69,000.00 and the
compensation of the Tribunal totaling $39,260.00 shall be borne by Respondent
Hamilton. Therefore, Respondent Hamilton shall pay to Claimant MGH the sum of
$85,780.00 representing that portion of fees and compensation previously advanced
by Claimant MGH to the ICDR. Respondent Hamilton shall pay simple interest on
this amount to Claimant MGH at the rate of 2.68% per annum from the date of
transmittal of this Final Award to the Parties by the ICDR until the earlier of when
this Final Award is paid or the date this Final Award is confirmed and merged into
a money judgment.




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      94.    This Final Award is in full settlement of all claims submitted to this
Arbitration. All claims not expressly granted herein are hereby denied in their
entirety.

I hereby certify, for the purposes of Article I of the New York Convention of 1958, on
the Recognition and Enforcement of Foreign Arbitral Awards, that this Final Award
was made in New York, N.Y., United States of America.

Dated: September 13, 2023
New York, New York
                                  _________________________
                                  Steven Skulnik
                                  Sole Arbitrator


State of NEW YORK                 )
                          ) SS:
County of NEW YORK                )

 I, Steven Skulnik, do hereby affirm upon my oath as Arbitrator that I am the
 individual described in and who executed this instrument, which is my Final
 Award.

 September 13, 2023               ________________________________________
                                        Steven Skulnik




                                         29
